             CaseApplication
AO 106 (Rev. 04/10) 2:19-mj-11518-RBM
                             for a Search Warrant        Document 1 Filed 11/22/19 PageID.1 Page 1 of 14

                                     UNITED STATES DISTRICT COURT
                                                                     for the
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                                                                                                            SO\.JTHcP-., D:sni,C:T oc Ci\LIFOflNIA
                                                         Southern District of California                    BY                            DEPUTY


             In the Matter of the Search of                             )
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                   )           Case No.
                       Sprint:                                          )
    Phone: 714-353-0997; IMEI: 355381091354170                          )
                ("Subject Account 3")
                                                                        )
                                                                                                      19MJ11518
                                           APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 see Attachment A.

located in the            Southern
                   --------
                                                  District of   ------------
                                                                            California          , there is now concealed (identify the
person or describe the property to be seized):

 see Attachment B.

          The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                 ~ evidence of a crime;
                 ~ contraband, fruits of crime, or other items illegally possessed;
                 ~ property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                           Offense Description

        21 U.S.C. §§ 952 and 960                   Importation of Fentanyl, Methamphetamine and Heroin


          The application is based on these facts:
        See attached Affidavit of Special Agent Christian Sanders

           iff Continued on the attached sheet.
           O Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.                --~

                                                                                ~--
                                                                                               Applicant's signature

                                                                                 SA Christian Sanders, Dep't of Homeland Security
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:                                                                            ~ - - - - - -
               I
City and state: _E_I_C_e_n_t_ro...:..,_C_A_ _ _ _ _ _ __                     Hon. Ruth B. Montenegro, United States Magistrate Judge
                                                                                                Printed name and title
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 1                                    ATTACHMENT A

 2       T-Mobile and Sprint hosts the electronic communication account associated with the
 3 following telephone numbers and IMEI numbers that are the subject of this search warrant
   and search warrant application:
 4
 5        T-Mobile:
          Phone:657-347-6628
 6
          IMEI:359637043670336
 7        ("Subject Account l ")
 8
          T-Mobile:
 9        Phone: 714-278-7075
          IMEI:356769083284158
10        ("Subject Account 2")
11
          Sprint:
12
          Phone: 714-353-0997
13        IMEI:355381091354170
          ("Subject Account 3)
14
          ( collectively the "Subject Accounts")
15
16       T-Mobile is an electronic communication service provider whose primary computer
   information systems and other electronic communications and storage systems, records,
17 and data are located at 4 Sylvan Way, Parsippany, New Jersey 07504.
18
         Sprint Corp. is an electronic communication service provider whose primary
19 computer information systems and other electronic communications and storage systems,
20 records, and data are located at 6480 Sprint Parkway, Overland Park, Kansas 66251.
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                                           ATTACHMENT B
 1
 2
     I.      Service of Warrant
 3
 4           The officer executing the warrant shall permit the Provider( s) in Attachment A, as
             custodian of the electronic files described in Section II below, to locate the files and
 5           copy them onto removable electronic storage media and deliver the same to the
 6           officer.
 7 II.       Items to be Seized
 8
             Agents shall seize the following records, data, and information covering May 1,
 9           2019 to August 27, 2019 and maintained by the Provider for the subject accounts
10           identified in Attachment A:
11              a. Subscriber information, including:
12                     1.       Names;
                       2.       Addresses (including mailing addresses, residential addresses,
13                              business addresses, and e-mail addresses);
14                     3.       Local and long distance telephone connection records;
                       4.       Records of session times and durations, and the temporarily
15                              assigned network addresses (such as Internet Protocol ("IP")
16                              addresses) associated with those sessions;
                       5.       Length of service (including start date) and types of service
17                              utilized;
18                     6.       Telephone or instrument numbers, including MAC addresses,
                                Electronic Serial Numbers ("ESN"), Mobile Electronic Identity
19                              Numbers ("MEIN"), Mobile Equipment Identifier ("MEID");
20                              Mobile Identification Number ("MIN"), Subscriber Identity
                                Modules ("SIM"), Mobile Subscriber Integrated Services Digital
21                              Network N1.1mber ("MSISDN"); International Mobile Subscriber
22                              Identity Identifiers ("IMSI"), or International Mobile Equipment
                                Identities ("IMEI");
23                     7.       Other subscriber numbers or identities; and
24                     8.       Means and source of payment (including any credit card or bank
                                account number) and billing records.
25
26              b. Records and other information about past wire or electronic communications
                   sent or received by the subject account, including:
27                      1.      the date and time of the communication;
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                    2.     the method of the communication;
 1
                    3.     the source and destination of the communication, such as the
 2                         source and destination telephone numbers (call detail records),
                           email addresses, or IP addresses; and
 3
                    4.     Cell site locations and sectors for all outgoing and incoming
 4                         voice, SMS, MMS, and Data communications.
                    5.     Finally, all available PCMD and/or "timing advance" data
 5
                           reports, to include PCMD or timing advance data, for the narrow
 6                         timeframe of August 25, 2019 at 7:00 AM UTC through
 7
                           August 27, 2019 at 11 AM UTC.

 8 which are evidence of violations of 21 U.S.C. §§ 841(a)(l), 846, 952, 960, 963 and 18
 9   u.s.c. §§1956-1957.
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 1
        AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT
           I, Christian Sanders, being duly sworn, state as follows:
 2
           1.     This affidavit is in support of an application by the United States of America
 3
     for a search warrant for T-Mobile and Sprint, as described in Attachment A, to search the
 4
     accounts associated with the following cellular telephone numbers and International
 5
     Mobile Equipment Identity ("IMEI") numbers:
 6
 7         T-Mobile:
           Phone: 657-347-6628
 8
           IMEI:359637043670336
 9         ("Subject Account l ")
10
           T-Mobile:
11         Phone:714-278-7075
           IMEI:356769083284158
12
           ("Subject Account 2")
13
           Sprint:
14
           Phone: 714-353-0997
15         IMEI:355381091354170
           ("Subject Account 3")
16
           (collectively, the "Subject Accounts")
17
18
     for subscriber information, telephone toll data, and cell-site geolocation data from May 1,
19
     2019 to August 27, 2019. There is probable cause that these records and information
20
     constitute evidence, fruits, and instrumentalities of violations of federal criminal law,
21
     namely, 21 U.S.C. §§ 841(a)(l), 846, 952, 960, 963, as well as 18 U.S.C. §§ 1956-1957,
22
     as described in Attachment B. This affidavit and application are sought pursuant to Rule
23
     41 of the Federal Rules of Criminal Procedure and 18 U.S.C. § 2703(a), which applies to
24
   providers of electronic communication services. In this case, as will be shown below, T-
25
26 Mobile and Sprint provides electronic communication services in the form of cellular and
   wireless telephone service for the subject account.
27
28 //
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 1                                EXPERIENCE & TRAINING
 2         2.    I am a Special Agent with the United States Department of Homeland
 3 Security, Immigration and Customs Enforcement (ICE), Homeland Security Investigations
 4 (HSI). I am also cross-designated to conduct Title 21 investigations and am currently
 5 assigned to the Imperial Valley Border Enforcement Security Task Force (IV-BEST). I
 6 have been involved with investigations for Title 21 offenses and am familiar with the
 7 Interagency Cooperation Agreement between the Drug Enforcement Administration
 8 ("DEA") and ICE. I am an "Investigative or Law Enforcement Officer" of the United
 9 States within the meaning of Title 18, United States Code, Section 2510(7).
10         3.    I have been employed as a Special Agent with HSI since June 2015. I have
11 received criminal investigative training, including twenty-six weeks at the Federal Law
12 Enforcement Training Center. As a result of my training and experience as a Special Agent,
13 I am familiar with federal criminal statutes to include violations of Title 18, 21, and 31 of
14 the United States Code.
15         4.    As a Special Agent with HSI, my primary duties include the investigation of
16 narcotics-related violations of Title 21 of the United States Code. I have participated in and
17 conducted investigations of violations of various Federal criminal laws, including
18 distribution of controlled substances, use of a communication facilities to commit narcotic
19 offenses, importation of controlled substances, conspiracy to import, possess and distribute
20 controlled substances, bulk cash smuggling, and money laundering, all in violation of Titles
21   18, 21, and 31, of the United States Code and various California Health and Safety Code
22 and California Penal Code sections. These investigations resulted in arrests of individuals
23 who have imported, smuggled, received and distributed controlled substances. These
24 investigations have also resulted in seizures of bulk cash, property, assets, and controlled
25 substances. Through these investigations and training, I am familiar with the operations of
26 illegal international Drug Trafficking Organizations and Money Laundering Organizations
27 in in the United States and abroad.
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 1         5.    The facts and conclusions set forth in this affidavit are based on my own
 2 personal knowledge; knowledge obtained from other individuals during my participation
 3 in this investigation; my review of documents and records related to this investigation;
 4 communications with others who have personal knowledge of the events, details, and
 5 circumstances described herein; and information gained through my training, experience,
 6 and communications with colleagues. Because this affidavit is submitted for the limited
 7 purpose of establishing probable cause in support of the application for a search warrant,
 8 it does not set forth each and every fact that I or others have learned during the course of
 9 this investigation. Dates, times, and amounts are approximate.
10                          STATEMENT OF PROBABLE CAUSE
11         6.   On August 26, 2019, at approximately 7:25 P.M., Tiffany Renee SCHMIDT
12 applied for entry at the Calexico, California West Port of Entry (POE) via the vehicle lanes.
13 SCHMIDT was the driver of the vehicle, a 2019 Ford F-150 bearing California license
14 plate 77830P2 and presented her California driver's license as identification. A United
15 States Customs and Border Protection Officer (CBPO) obtained a negative customs
16 declaration from SCHMIDT. The CBPO noticed SCHMIDT was visibly shaky and
17 nervous. After querying the vehicle, the CBPO received a positive match for the vehicle
18 being stolen. SCHMIDT was escorted to secondary inspection.
19         7.   During secondary inspection, SCHMIDT told CBPOs that the vehicle was a
20 rental and was being rented by the passenger of the vehicle following behind her. John
21 CARRIGAN and Kristofer BOWERS were following behind SCHMIDT in a 2005 Nissan
22 Xterra bearing California license plate 8KZE92 l. At this time, CBPOs also escorted
23 CARRIGAN and BOWERS to secondary inspection.
24         8.   In the secondary inspection lot, CBPOs obtained jumper cables for the Ford F-
25 150 as the vehicle had died. As CBPOs attempted to jump-start the vehicle, they noticed
26 anomalies with the vehicle's battery. At this time, a Canine Enforcement Officer (CEO)
27 was requested to screen the Ford's battery with their assigned Human and Narcotic
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 1 Detector Dog (HNDD). The CEO received an alert to the battery. Further inspection
 2 resulted in the discovery of four (4) packages, with a combined total weight of 3.60
 3 kilograms (7 .92 pounds) containing a substance which tested positive for fentanyl. After
 4 DEA lab testing, the substance was confirmed as 3.198 kilograms of fentanyl.
 5        9.    Post-arrest, SCHMIDT waived her Miranda rights and agreed to answers
 6 questions outside the presence of an attorney. SCHMIDT admitted to getting paid $1,000
 7 by CARRIGAN for transporting narcotics from Mexicali, Baja California, Mexico to
 8 California. SCHMIDT also stated that BOWERS' vehicle was supposed to be loaded with
 9 narcotics and he was to be paid $1,000 as well. SCHMIDT stated that the three of them
1O traveled down to Mexico from California riding in two different vehicles. CARRIGAN
11 drove the Ford while SCHMIDT rode as a passenger. BOWERS followed behind them as
12 he drove his Nissan. CARRIGAN obtained the Ford vehicle from another friend who
13 rented the vehicle.     After SCHMIDT'S post-arrest interview, CBPOs then found
14 SCHMIDT to be carrying internally 2.01 grams (0.00201 kilograms) of fentanyl, 4.69
15 grams (0.00469 kilograms) of methamphetamine, and 6.38 grams (0.00638 kilograms) of
16 heroin.
17        10.   Post-arrest, BOWERS waived his Miranda rights and agreed to answers
18 questions outside the presence of an attorney. During the interview, BOWERS claimed
19 that he and CARRIGAN had traveled to Mexico to visit a friend of CARRIGAN's. He
20 claimed that he and CARRIGAN had traveled down to Mexico together riding in his
21 Nissan. BOWERS denied knowing SCHMIDT or ever meeting her. BOWERS claimed
22 the first time he had ever seen SCHMIDT was when she was in the lane in front of him
23 while they crossed into the United States.       BOWERS disclaimed knowledge of the
24 narcotics in the Ford F-150 driven by SCHMIDT.
25        11.   Post-arrest, CARRIGAN invoked his Miranda rights.
26        12.   Agents seized cellphones associated with the Subject Accounts incident to
27 SCHMIDTs', CARRIGAN's, and BOWERS' arrests. Subject Account 1 corresponds with
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 1 SCHMIDT's cellphone. Subject Account 2 corresponds with CARRIGAN's cellphone.
 2 And Subject Account 3 corresponds with BOWERS' cellphone.
 3          13.   As part of my investigation, I reviewed crossing history for all three subjects.
 4 Crossing records show that both the Ford F-150, bearing California plates 77830P2, and
 5 the Nissan Xterra, bearing California plates 8KZE921, have only two crossings each. One
 6 crossing shows both vehicles crossed southbound into Mexico on August 25, 2019 within
 7 seconds of each other. The records also indicate the two vehicles crossed northbound into
 8 the United States in tandem with each other on August 26. Furthermore, crossing photos
 9 depict the southbound crossing into Mexico of the Ford F-150 through the Calexico West
10 POE on August 25. In the photo, a male driver, who appears to be CARRIGAN, is driving
11 the Ford F-150 while the Nissan Xterra follows closely behind.
12          14.   Crossing records for the last 18 months indicate that SCHMIDT had three
13 crossings between July 26, 2019 1 and her August 26, 2019. SCHMIDT's first crossing was
14 on July 26, 2019 in a vehicle bearing California plate 62074Dl. SCHMIDT's second
15 crossing was on August 14, 2019 in a vehicle bearing California plate 29948S2.
16 SCHMIDT's last crossing was on the date of her arrest in the Ford F-150 with California
17 plate 77830P2.
18          15.   Crossing records for the last 18 months indicated that CARRI GAN had seven
19 crossings, both vehicle and pedestrian, dating back to June 10, 2019. One of those crossings
20 was with a vehicle bearing California plate 29948S2. Four crossings were in a vehicle
21 bearing California plate 62074Dl, which includes the July 26, 2019 crossing with
22 SCHMIDT. CARRIGAN also has one pedestrian crossing on June 10, 2019. On August
23 26, 2019, Carrigan crossed in the Nissan Xterra bearing California plate 8KZE92 l.
24          16.   Crossing records for the last 18 months indicated that BOWERS only has the
25 one crossing on August 26, 2019 from Mexico into the United States in the Nissan bearing
26 California plate 8KZE921.
27  The actual records show July 27, 2019 but they are in Eastern.Standard Time. Once the
     1

28 conversation is made, the local date is July 26, 2019.
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 1         17.   Along with other information uncovered during my investigation, I believe
 2 that historical cell site information will help identify patterns of travel between SCHMIDT,
 3 CARRIGAN, and BOWERS during the August 26, 2019 smuggling venture as well as
 4 other prior ventures that SCHDMIT, CARRIGAN, BOWERS, and other co-conspirators
 5 may have been involved with.
 6         18.   Based on my training and experience, and my consultation with other law
 7 enforcement officers, I am aware that T-Mobile and Sprint routinely collects and stores
 8 data for the electronic communication accounts to which it and other providers issue
 9 telephone numbers. The data includes: (i) subscribers' contact and billing information; (ii)
1o detailed information concerning subscribers' incoming and outgoing telephone calls; (iii)
11 detailed information concerning subscribers' outgoing direct calls, text message, and SMS
12 messages; and (iv) detailed information concerning cell-site geo-location data.
13         19.   In particular, I know that cell phones connect to a provider's network through
14 cell towers or cell sites. The particular tower or site may change as a phone moves from
15 one location to another. Providers automatically record and retain this connection data as
16 part of the subject account. Records and data identifying the towers or sites to which a
17 phone connected therefore tend to identify the phone's and phone user's location at
18 particular times.
19              a.     I also know that different providers use the speed with which signals
20 travel between cell phones and cell towers ("per call measurement data," or "PCMD"), as
21 well as other data, to better calculate and record the location of phones accessing their
22 networks. Different providers may use different terminology to describe PCMD. For
23 example, AT&T has referred to the resulting location information as "NELOS" data;
24 Verizon, as "Real Time Tool" or "RTT" data; Sprint, as PCMD; and T-Mobile, as "timing
25 advance" data.

26        20.    This application also requests such per call measurement data (by whatever

27 name the provider uses) for the Subject Accounts for the following date and time range:
28 August 25, 2019 at 7:00 AM UTC through August 27, 2019 at 11 AM UTC. During
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 1 this time period, the subscriber for the subject account is believed to have been located in
 2 the vicinity of Anaheim, California and Calexico, California.
 3        21.    Given these facts, I seek a warrant to search the Subject Accounts for the
 4 records and information in Attachment B.
 5                  PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
 6        22.    The United States is unaware at this time of other attempts by the U.S.
 7 government to obtain this data by other means.
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                                                               --·            ,/
                                            ;z=/C/c:~~~
10
                                          Christian Sanders
11                                        Special Agent
                                          Homeland Security Investigations
12
13                                                n/_
     Subscribed and sworn to before me this ;Z:lday ofNovember, 2019.
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17
                                          United States Magistrate Judge
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 1                                    ATTACHMENT A

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 3 following telephone numbers and IMEI numbers that are the subject of this search warrant
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 4

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 6
          IMEI:359637043670336
 7        ("Subject Account 1")

 8        T-Mobile:
 9        Phone: 714-278-7075
          IMEI:356769083284158
10
          ("Subject Account 2")
11
          Sprint:
12
          Phone: 714-353-0997
13        IMEI:355381091354170
          ("Subject Account 3)
14
          (collectively the "Subject Accounts")
15
16       T-Mobile is an electronic communication service provider whose primary computer
   information systems and other electronic communications and storage systems, records,
17
   and data are located at 4 Sylvan Way, Parsippany, New Jersey 07504.
18
         Sprint Corp. is an electronic communication service provider whose primary
19
   computer information systems and other electronic communications and storage systems,
20 records, and data are located at 6480 Sprint Parkway, Overland Park, Kansas 66251.
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 1                                        ATTACHMENT B

 2
     I.      Service of Warrant
 3
 4           The officer executing the warrant shall permit the Provider( s) in Attachment A, as
             custodian of the electronic files described in Section II below, to locate the files and
 5           copy them onto removable electronic storage media and deliver the same to the
 6           officer.
 7 II.       Items to be Seized
 8
             Agents shall seize the following records, data, and information covering May 1,
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                       2.       Addresses (including mailing addresses, residential addresses,
13                              business addresses, and e-mail addresses);
14                     3.       Local and long distance telephone connection records;
                       4.       Records of session times and durations, and the temporarily
15                              assigned network addresses (such as Internet Protocol ("IP")
16                              addresses) associated with those sessions;
                       5.       Length of service (including start date) and types of service
17                              utilized;
18                     6.       Telephone or instrument numbers, including MAC addresses,
                                Electronic Serial Numbers ("ESN"), Mobile Electronic Identity
19                              Numbers ("MEIN"), Mobile Equipment Identifier ("MEID");
20                              Mobile Identification Number ("MIN"), Subscriber Identity
                                Modules ("SIM"), Mobile Subscriber Integrated Services Digital
21                              Network Number ("MSISDN"); International Mobile Subscriber
22                              Identity Identifiers ("IMSI"), or International Mobile Equipment
                                Identities ("IMEI");
23                     7.       Other subscriber numbers or identities; and
24                     8.       Means and source of payment (including any credit card or bank
                                account number) and billing records.
25
26              b. Records and other information about past wire or electronic communications
                   sent or received by the subject account, including:
27                      1.      the date and time of the communication;
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                    2.      the method of the communication;
 1
                    3.      the source and destination of the communication, such as the
 2                          source and destination telephone numbers (call detail records),
                            email addresses, or IP addresses; and
 3
                    4.      Cell site locations and sectors for all outgoing and incoming
 4                          voice, SMS, MMS, and Data communications.
                    5.      Finally, all available PCMD and/or "timing advance" data
 5
                            reports, to include PCMD or timing advance data, for the narrow
 6                          timeframe of August 25, 2019 at 7:00 AM UTC through
 7
                            August 27, 2019 at 11 AM UTC.

 8 which are evidence of violations of 21 U.S.C. §§ 841(a)(l), 846, 952, 960, 963 and 18
 9
   u.s.c. §§1956-1957.
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